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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                            CASE NO.: 22-CR-146
      Plaintiff,
vs.

MATTHEW MONTALVO,

      Defendant.
                                      /

 UNOPPOSED MOTION FOR PERMISSION TO TRAVEL OUT OF THE
             MIDDLE DISTRICT OF FLORIDA

      COMES NOW, the Defendant, Matthew Montalvo, and files his Unopposed

Motion for Permission to Travel, and states the following grounds:

                                      GROUNDS

      1. These charges stem from the events at the United States Capitol building

on January 6, 2021. The Government later charged hundreds of individuals,

including Montalvo, with federal misdemeanors in the District of Columbia.

Specifically, the Government charged Montalvo with the following misdemeanors:

18 U.S.C. 1752(a)(1); TEMPORARY RESIDENCE OF THE PRESIDENT;

Entering and Remaining in a Restricted Building or Grounds; 18 U.S.C.

1752(a)(2); TEMPORARY RESIDENCE OF THE PRESIDENT; Disorderly and

Disruptive Conduct in a Restricted Building or Grounds; 40 U.S.C. 5104(e)(2)(D);

VIOLENT ENTRY AND DISORDERLY CONDUCT ON CAPITOL
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GROUNDS; Disorderly Conduct in a Capitol Building; and 40 U.S.C.

5104(e)(2)(G); VIOLENT ENTRY AND DISORDERLY CONDUCT ON

CAPITOL GROUNDS; Parading, Demonstrating, or Picketing in a Capitol

Building. (DE 8).

      2. On May 5, 2022, Magistrate Judge Merriweather set the conditions of

release, which included a personal recognizance bond. (DE 14).

      3. Unfortunately, Mr. Montalvo’s father’s health has deteriorated, and he

may die soon. Mr. Montalvo requests permission to travel by airplane to the

District of Massachusetts, leaving today or tomorrow.

      4. Mr. Montalvo previously traveled to the District of

Massachusetts, with this Court’s permission, in July without incident.

      5. Mr. Montalvo will provide his Pretrial Officer all of the information

regarding his travel, as he previously did.

      6. Counsel contacted AUSA J. Crawford for the Government’s position,

and he stated the Government does not object, as long as Mr. Montalvo provides

his Pretrial Officer all of the information they require.

      7.     This Court can grant Mr. Montalvo’s request under 18 U.S.C. § 3142.

Specifically, Mr. Montalvo requests to travel to the Boston area to be with his

father. He has no criminal history; he is not a flight risk.




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      WHEREFORE, Mr. Montalvo respectfully moves this District Court to

allow him to travel as detailed above.

      Respectfully submitted,

      /s/Aubrey Webb________________
      Law Offices of Aubrey Webb
      55 Merrick Way, Suite 212
      Coral Gables, Florida 33134
      305-461-1116
      Email: aubrey@aqwattorney.com



                          CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing was
efiled to the Office of the Clerk, United States District Court, District of Columbia,
333 Constitution Ave., N.W. Washington D.C. 20001, Room 1225 and to the
Office of the United States Attorney, 555 4th St N.W., Washington D.C. 20530, on
this 12th day of September 2022.

      /s/Aubrey Webb




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